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EXHIBIT A

Case 1:12-CV-00800-.]B-.]HR Document 225-1 Filed 08/07/18 Page 2 of 3
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PAUI.INE CORREO

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

PUEBLO_OF JEME;, a f§dera11y
recogn1zed Ind1an tr1be,

P1aintiff,

VS.
UNITED STATES OF AMERICA,

Defendant,
and

NEW MEXICO GAS COMPANY,

Defendant-in-Intervention.

DEPOSITION OF PAULINE TOLEDO CORREO

Tuesday, August 15, 2017
9:11 a.m.
7424 4th Street, NW

A1buquerque, New Mexico

PuquANT T0 THE NEW MEXICO RULES oF CIVIL
PROCEDURE th1s depos1t10n Was:

TAKEN BYZ PETER KRYN DYKEMA, ESQ.
FOR DEFENDANT UNITED STATES OF AMERICA

REPORTED BY: MAUREEN R. COSTELLO, CCR
New Mexico CCR No. 220

Hunnicut;, Coste110 Reporting
Post Off1ce Box 68

G]orieta, New Mexico 87535

 

Case No. 1:12-cv-800(RCB)(WPL)

 

 

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PUEBU)OFJEMEZV.UNHEDSTATESOFAMERKM

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August 17, 2017

PAULINE CORREO

 

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unhappy if they were hunting in the immediate vicinity of
the Bonds' cattle.

A. Well, in the wintertime -- in the fall time, they
took the cattle 0ut. They took them. There was no cattle
there. There was just sheep there in the wintertime.

Q. ls there no hunting during the summer,
traditionally?

A. No, they don't hunt in the smnrnertime, not for
wild game, only in the fall time.

Q. During what months do the Jemez people
traditionally hunt within the Caldera?

A. From October to about -- till it gets snowbound.
lt used to get snowbound. Maybe till about November.
Because at that time there was no highway It was all dirt
roads, and everybody had to ride horses or go on wagons.

Q. Do you know if the Bonds put any limits on the
number of animals that the Jemez people could kill in a
given season?

A. No. I don't think they were even there because
the Spam`sh men, Spanish people, did the shepherding and

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A. Oh, okay. But it was right in this (indicating).
ls this the main entrance right there now? Because there's
a main entrance right in here (indicating), and then
there's that parking area now. So maybe it was further
back, in this area then (indicating).

Q. Valle .laramillo?

A. But l remember this creek there, so it must have
been maybe right in this area (indicating), then, because
we could see Redondo Peak from there, because there's three
other peaks right there.

Q. Okay. Can you mark that area?

A. (Witness complied.)

Q. Thank you.

A. Because from here (indicating) there's about two
big peaks right there. So, yeah, it was about right there
(indicating).

Q. And the area you marked now is just a little bit
south of the "M" in Valle Jaramillo?

A. Right there (indicating). l'm pretty sure because
there's that creek. l remember that creek coming in

 

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Q. Describe that. l mean, did you go with your
father?

A. l went with my father, yes.

Q. And where did you hunt with your father?

A. Way up. Let's see. Near this Jaramillo Creek
(indicating) right into the Valles Caldera. Probably like
about right in this area (indicating).

Q. Can l ask you to mark that with a yellow Sharpie,
the area where you and your father hunted.

A. Probably in this area (indicating) because --
Yeah.

Q. Thank you. And it's right next to what is today a
parking area?

A. Well, it was maybe further back, then.

Q, Well --

 

2 1 taking care of the cattle; but the Bonds brothers were just 21 through there.
2 2 there like for maybe -- they weren’t there 24/7, though. 22 Q. And what's the name of that creek?
23 Q. So they had a crew of men -- 23 A. Jaramillo.
24 A. Yes. 24 Q. Thank your
25 Q. -- running the ranch. 25 So the hunting you did with your dad, when you
Page 2 7 Page 2 9
1 A. Yeah. 1 were young, would have been in the '505?
2 Q. And they, as otten as not, were back in Texas. 2 A. No. ln the '405.
3 A. Yes. 3 Q. The '405.
4 Q. Did the ranch workers live in the buildings there? 4 A. Like about '47 maybe.
5 A. Yes. They had cabins there. 5 Q. Okay. But that's when you were at the HHH Ranch?
6 Q. Apart from when you were staying at the Howard l-l. 6 A. Yes.
7 House -- at HHH Ranch, excuse me. bet me start over again. 7 Q. But did you hunt with your dad alter you were no
3 Apart from the time when you lived at the HHH 8 longe at the HHH Ranch?
9 Ranch, have you hunted in the Valles Caldera? 9 A. No, l didn‘t hunt anymore,
10 A. Yes, as a kid. 10 Q. Okay.
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A. Because l was in boarding school by then.

Q. Whereabouts?

A. l went to boarding school at Santa Fe lndian
School, and l was there for a long time.

Q. When you were hunting, could you shoot as many
deer as you wanted?

A. No. We only did one because we didn‘t -- we
didn‘t have no refrigeration, so we had to mostly dry it,
the whole thing.

Q. Did you leave any meat for the Bonds or for their
ranch hands?

A. No. There was nobody there; just the
sheepherders, but they didn‘t want any because they had
their own. And that's where we killed a doe; and then when
we went back that evening to get the doe, there was two

 

 

8 (Pages 26 to 29)

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